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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              v.
                                                        Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                           Defendant


             Second Supplement in Support of Agreed Dismissal

      On May 7, 2020, the Government moved to dismiss the Information against

General Flynn after shocking exculpatory evidence was revealed by U.S. Attorney

Jeffrey Jensen’s review of the Flynn file. ECF No. 198. General Flynn consented to

that motion. ECF No. 199. Although this Court has terminated briefing and hearing

deadlines, the case is still pending as this court has not yet entered the order

dismissing the case on the Government’s motion. As the court knows, the government

has a continuing obligation to provide Brady material to the defense. Banks v. Dretke,

540 U.S. 668, 675-76 (2004); Min. Order (Feb. 16, 2018), United State v. Flynn, No.

17-232 (D.D.C.).

      Mr. Jensen’s review has unearthed additional exculpatory evidence.

Accordingly, as dismissal has not yet been granted and General Flynn must establish

and preserve the record, General Flynn provided his first supplement seasonably on

June 24, 2020,ECF No. 231, and now files this Second Supplement.

      On July 7, 2020, the Government produced to General Flynn 14-pages of

additional evidence, demonstrating (i) his innocence; (ii) the absence of any crime;


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(iii) government misconduct in the investigation of General Flynn; and (iv)

prosecutorial misconduct in the suppression of evidence favorable to the defense in

violation of Brady v. Maryland, 373 U.S. 83 (1963) and this Court’s Brady order.

These documents both corroborate information provided by others previously and

provide new information known to at least ten people at the highest levels of the

Department of Justice and the FBI.        This evidence negates multiple essential

elements required for the prosecution of a false statement offense.

         These documents establish that on January 25, 2017—the day after the agents

ambushed him at the White House—the agents and DOJ officials knew General

Flynn’s statements were not material to any investigation, that he was “open and

forthcoming” with the agents, that he had no intent to deceive them, and that he

believed he was fully truthful with them. In short, there was no crime for many

reasons. These documents were known to exist at the highest levels of the Justice

Department and by Special Counsel, yet they were hidden from the defense for three

years.

         Despite clear evidence of no crime, as the defense briefed previously, Sally

Yates and Mary McCord made two trips to the White House to get General Flynn

fired, and Andrew McCabe met with Vice President Pence to convince him that

General Flynn had not been honest with him. Further, after that meeting, FBI

Agents Strzok and Lisa Page further altered the FBI 302 report of the interview until

it met with McCabe’s approval and would facilitate a prosecution by the Special

Counsel. ECF No. 235.



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      These documents provide even more compelling evidence requiring the court

to grant General Flynn’s Consent to and the Government’s Motion to Dismiss. Notes

of then Deputy Assistant Attorney General Tashina Gauhar, reveal a January 25,

2017, meeting of ten officials including FBI General Counsel James Baker, Bill

Priestap, Agent Peter Strzok, and [redacted]; from the National Security Division of

DOJ: Mary McCord, George ZT, and STU; from the Office of the Deputy AG: Tash,

Scott [Schools], and [redacted]. The FBI reported that they had an investigation open

on Flynn from the prior summer but “had not seen things to point to initial issue.”

They were “looking to close F” . . . “then recovered calls.” For General Flynn’s

November and December calls, they even made “requests to foreign partners.” “Info

came back—legitimate.” They claimed the “media leaks” regarding the calls being

intercepted brought the “investigation in the open” and “changed the dynamic” so

they decided to interview him immediately. Exhibit A.

      They reported that they “asked to interview—with couple of agents to talk

about [the] news.” Flynn told Deputy Director McCabe that he knew the FBI had the

calls. Flynn walked through the history of his relationship with Kislyak.

      Ms. Gauhar’s notes confirm that the agents had decided not to show him the

cuts [transcripts] of the calls.    Their sense was he was “being forthright.”

Contrary to the “Final 302” itself, the Ms. Gauhar’s notes indicate they provided

Flynn “no false statement or intro that he was under investigation.” General Flynn

described an exercise of calling thirty or more countries. “FBI → says checked + is

consistent w/ tech cuts.”



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      To the extent there were any differences between the transcripts the FBI held

but did not share with General Flynn and his recollection that day, the Agents said

they “believe[d] that F. believe[d] that what he said was true.” This fact alone defeats

the requisite intent for a crime.

      The agents also reported that General Flynn did not remember the number of

calls he made [from the Dominican Republic]. Remarkably, the “Final 302” wrongly

states that General Flynn did remember making four-five calls. Finally, her notes

document again that the agents believed he was “telling truth as he believed it.” He

knew they had the cuts, and he focus was on radical Islam.1

      The production includes heavily redacted notes from Peter Strzok taken at the

same January 25, 2017 meeting. Strzok’s notes establish the DOJ nixed any Logan

Act prosecution.   George Tosca apparently wanted to know who thought it was

“appropriate to tell the White House to stop making false statements”?

      The Government’s production also contained a heavily redacted excerpt from a

draft January 30, 2017, internal memo. The Government previously disclosed to

General Flynn that this memo existed, but the actual memo has never been produced

and contains more information than Mr. Van Grack’s meager summary. Among other

points, the memo says that the FBI determined that based upon its interview of


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     One of the many problems with the Special Counsel’s allegations of any wrongdoing by
General Flynn depends on conflating “US sanctions” with expulsions—which are distinct
issues with different meanings and cannot be used interchangeably—especially for
allegations of a felonious “false statement.” See Margot Cleveland, New Flynn
Transcripts Confirm Mueller Team Lied to The Court And The Country, THE
FEDERALIST (June 1, 2020), https://thefederalist.com/2020/06/01/new-flynn-
transcripts-confirm-mueller-team-lied-to-the-court-and-the-country/

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General Flynn on January 24, 2017, it “did not believe General Flynn was acting as

an agent of Russia.” The FBI determined that General Flynn believed what he was

telling the agents was the truth. “FBI advised that the purpose of the interview was

to determine if Flynn was acting as an agent of Russia. FBI advised that Flynn was

very open and forthcoming.” The memo also reveals it was the FBI leadership made

the decision “not to confront Flynn with the actual tech cuts.” Also included in Exhibit

A are one page of Dana Boente’s meager and redacted notes of March 30, 2017, weeks

after Flynn left the White House. They disclose that the government actors “Do not

view [Flynn] as source of collusion.”

      These disclosures evince additional Brady violations and even more reasons

requiring dismissal of the case against General Flynn. As with our first Supplement

in Support of Agreed Dismissal, ECF No. 231, counsel conferred with the Government

about this filing. The Government advised us that all necessary redactions were

complete, and it had no objection to the documents being filed on the public docket.

The Government’s production of July 7, 2020, is attached hereto as Exhibit A.

      Dated: July 10, 2020

                                        Respectfully Submitted,


 /s/ Jesse R. Binnall                    /s/ Sidney Powell
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                             CERTIFICATE OF SERVICE

      I hereby certify that on July 10, 2020 I electronically filed the foregoing Supplement

with the Clerk of Court using the CM/ECF system. I further certify that the participants in

the case are registered CM/ECF users and that service will be accomplished by the court’s

CM/ECF system.


                                                Respectfully submitted,

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